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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF ORANGE, CENTRAL JUSTICE CENTER
DEPARTMENT 62

KELLI PETERS, ET. AL.,
PLAINTIFF,
vs. NO. 30-2012-00588580

KENT W. EASTER, ET. AL.; AND
DOES 1 TO 100, INCLUSIVE,

DEFENDANTS.

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HONORABLE MICHAEL BRENNER, JUDGE PRESIDING
REPORTER'S TRANSCRIPT

FEBRUARY 4, 2016
VOLUME III - PAGES 139 THROUGH 277

APPEARANCES OF COUNSEL:

FOR THE PLAINTIFF:

MARCERFAU & NAZIF

BY: ROBERT H. MARCEREAU

AND SY NAZIF

FOR THE DEFENDANT KENT W. FASTER:
IN PRO PER

BY: KENT W. EASTER

JEANETTE A. GILLICK, CSR NO. 7961
OFFICIAL COURT REPORTER

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(THE FOLLOWING PROCEEDINGS WERE HELD IN OPEN COURT IN THE
PRESENCE OF THE JURY:)}

THE COURT: COUNSEL, WE HAD NOT CONCLUDED WITH
MISS PETERS. DO YOU HAVE A WITNESS YOU WANT TO CALL OUT OF
ORDER?

MR. MARCEREAU: THAT'S CORRECT, YOUR HONOR.

PLAINTIFFS CALL OFFICER CHARLES SHAVER OUT OF
ORDER. SVK

THE COURT: ALL RIGHT,

THE CLERK: RAISE YOUR RIGHT HAND.

DO YOU SOLEMNLY STATE THAT THE EVIDENCE YOU SHALL
GIVE IN THIS MATTER SHALI BE THK TRUTH, THE WHOLE TRUTH,
AND NOTHING BUT THE TRUTH, SO HELP YOU GOD?

THE WITNESS: I DO,

THE CLERK: PLEASE HAVE A SEAT AT THE WITNESS
STAND. PLEASE STATE YOUR FIRST AND LAST NAME AND SPELL
BOTH FOR THE RECORD.

THE WITNESS: CHARLES SHAVER, C-H-A-R-L-E-S,
S-H-A-V-E-R.

THE CLERK: THANK YOU. YOU MAY HAVE A SEAT IN THE
WITNESS STAND.

DIRECT EXAMINATION

BY MR. MARCEREAU:
Q GOOD MORNING.

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145
1 A GOOD MORNING,
2 Q AS YOU MIGHT HAVE JUST IMPLIED TO THE JURY, ARE
3; YOU WITH THE IRVINE POLICE?
4 A I AM.
5 Q WHAT IS YOUR POSITION WITH THE IRVINE POLICE?
6 A I AM A POLICE OFFICER.
7 Q OFFICER SHAVER, ON FEBRUARY 16, 2011 DID YOU
8 | RESPOND TO A CALL AT THE PLAZA VISTA ELEMENTARY SCHOOL?
9 A YES, I DID.
10 Q WHAT WAS THE NATURE OF THAT CALL?
il A A CALL CAME INTO THE POLICK DEPARTMENT STATING
12 | THAT A WHITE PT CRUISER WAS DRIVING ERRATICALLY IN THE
13 | PARKING LOT. THAT THE CALLER THOUGHT THAT THE DRIVER HAD
14 | MAYBE PUT SOME PILLS BEHIND THE SEAT, AND WE WERE CALLED TO
15 | INVESTIGATE THAT BECAUSE THE CALLER WAS CONCERNED THAT
16 | SOMEONE WAS DRIVING ERRATICALLY AND MAY POSSIBLY BE UNDER
17 | THE INFLUENCE.
18 Q IN AN ELEMENTARY SCHOOL PARKING LOT?
19 A YES.
20 Q WAS IT JUST YOU AND YOUR PARTNER THAT RESPONDED TO
21 | THE CALL?
22 A CORRECT.
23 0 WHAT HAPPENED WHEN YOU ARRIVED AT THE PLAZA VISTA
24 | ELEMENTARY SCHOOL?
) 25. A FIRST THING WE DID WAS LOCATED THE CAR THAT WE
26 | THOUGHT THE CALLER WAS DESCRIBING. MY FOLLOW OFFICER,

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OFFICER ROBERTS AND I APPROACHED THE DRIVER SIDE OF THE
WINDOW AND LOOKED IN THE AREA WHERE THE CALLER DESCRIBED
WHERE HE THOUGHT THIS BAG OF DRUGS WERE PLACED. I LOOKED
THROUGH THE BACK OF THE WINDOW AND I SAW A LARGE BAG WHAT I
SUSPECTED WAS MARIJUANA PROTRUDING OUT OF THE SEAT POCKET
BEHIND THE DRIVER SEAT.

Q WAS I't PRETTY OBVIOUSLY PROTRUDING OUT SO YOU CAN
SEE If FROM OUTSIDE THE WINDOW?

A CLEARLY.

Q IN THIS CALL THAT CAME IN WERE YOU GIVEN THE
LICENSE NUMBER TO IDENTIFY THE CAR?

A YES. I DON'T KNOW IT OFF HAND.

Q I WASN'T ASKING FOR THE LICENSE NUMBER, THAT
WOULD HAVE BEEN PRETTY IMPRESSIVE IF YOU KNEW IT OFF THE
TOP OF YOUR HEAD.

A 1 AM TRYING TO THINK IF THE CALLER HAD THE LICENSE
PLATE OR JUST THE DESCRIPTION OF THE PT CRUISER. THE
CALLER STATED THAT HE THOUGHT THE DRIVER'S NAME WAS KELLI
AND SHE WAS A VOLUNTEER AT THE SCHOOL. I DON'T KNOW IF THE
PLATE WAS PROVIDED. IT WAS PRETTY EASY TO LOCATE THE CAR.
AFTER THE CAR WAS LOCATED, NOW THAT I THINK ABOUT IT, I
DON'T THINK THAT THE PLATE WAS GIVEN IN THE INITIAL CALL,
BUT ONCE WE FOUND THE VEHICLE I GAVE THE PLATE TO OUR
DISPATCH CENTER.

Q WHEN YOU WENT TO THE CAR AND SAW THAT BAG OF LEAFY
GREEN SUBSTANCE PROTRUDING FROM THE BACK OF THE SEAT

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POCKET, WHAT DID YOU DO AT THAT POINT?

A AT THAT POINT WE POSITIONED OUR CARS WHEN WE FIRST
CAME IN BEHIND THE PT CRUISER AND I HAD OFFICER ROBERTS
STAY WITH THE CAR. AFTER GETTING INFORMATION BACK FROM THE
DISPATCH CENTER WHO THE VEHICLE WAS REGISTERED TO USING THE

_FIRST NAME THE CALLER PROVIDED, I WENT INSIDE TO TALK TO

THE ADMINISTRATIVE STAFF TO SEE IF THERE WAS SOMEONE
ACTUALLY THERE VOLUNTEERING AT THE SCHOOL.

Q g0 YOU ASKED THAT KELLI PETERS BE BROUGHT UP FRONT
TO SER YOU?

A I ASKED IF THERE WAS A KELLI PETERS THAT WAS
VOLUNTEERING THERE, AND THEY SAID SHE WAS AND ONE OF THE
STAFF WENT BACK TO GET WHERE ‘SHE WAS AT WITHIN THE SCHOOL.

Q AT SOME POINT DID KELLI PETERS APPEAR TO SPEAK

WITH YOU?
A YES.
Q WERE YOU IN YOUR UNIFORM AT THAT TIME?
A I WAS.

Q YOU HAD YOUR BADGE, YOUR GUN, RADIO, ALL OF THAT
STUFF?

A YES.

Q AND SO WHEN MRS. PETERS CAME UP TO YOU, WHAT DID
YOU OBSERVE AS FAR AS HER MINDSET IF ANYTHING?

A INITIALLY I SAW THAT IT WAS A LONG HALLWAY AT THE
SCHOOL AND A FEMALE WAS RUNNING DOWN THAT LATER WAS
IDENTIFIED AS KELLI PETERS. AT THE TIME SHE WAS RUNNING

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-“ 41 DOWN SHE WAS PANICKED, AND BEFORE I COULD EVEN SAY ANYTHING
9 | SHE ASKED WHAT HAPPENED TO MY HUSBAND OR IS MY HUSBAND ALL
3} RIGHT. SHE THOUGHT THAT WAS THE NATURE OF ME BRING THERE
4| WAS.
5 Q DID YOU EVER HAVE TO DELIVER BAD NEWS LIKE THAT?
6 A YmS.
7 Q SO MRS. PETERS WAS ACTUALLY RUNNING TOWARDS YOU?
8 A YES.
9 Q SHE SEEMED DISTRAUGHT?
10 A YES.
11 Q SAYING, WHAT HAPPENED TO MY HUSBAND?
_ 12 A CORRECT.
) 43 Q WAS SHE CRYING AT THAT POINT?
14 A AT THAT POINT I DON'T THINK SHE WAS CRYING. IT
15 | WAS MORE PHYSICALLY A PANIC STATE. I DON'T THINK THERE WAS
161! ANY TEARS AT THAT POINT. AFTER SHE REALIZED NOTHING
17 | HAPPENED TO HER HUSBAND, THEN THAT PANIC STARTED TO SUBSIDE
18 | A LITTLE BIT.
19 0 WHEN SH® INITIALLY ARRIVED AND SAID WHAT HAPPENED
20} TO MY HUSBAND, DID YOU THEN TRY TO CALM HER DOWN AND SAY,
21| NO, NO, THAT IS NOT WHAT WE ARE HERE FOR?
22 A EXACTLY.
23 Q ONCE YOU WERE ABLE TO ASSURE MRS. PETERS THIS
241! WASN'T ABOUT HER HUSBAND WHAT HAPPENED NEXT?
A AT THAT POINT I ASKED HER TO STEP OUTSIDE, IF WE
COULD WALK OUT TO THE PARKING LOT. AS I WAS OUTSIDE I

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ASKED HER IF SHE HAD ANYTHING IN HER CAR THAT SHE SHOULDN'T
HAVE THAT WAS ILLEGAL, AND SHE SAID ABSOLUTELY NOT.

I LOOKED IN THE BACK OF THE CAR AND I THOUGHT I
SAW A BAG OF MARTJUANA. SHE RESPONDED, THAT IS IMPOSSIBLE,
THERE CAN'T BE ANY MARIJUANA IN MY CAR. JI ASKED HER IF I

COULD SRARCH IT, AND SHE SATD ABSOLUTELY AND HANDED ME THE
KEYS. .

Q SHE WAS CONVINCED THERE IS NO POSSIBLE WAY THERE
COULD HAVE BEEN ANY DRUGS IN HER CAR?

A YES, 100 PERCENT CONVINCED.

0 DID YOU ESCORT MRS. PETERS TO HER CAR WHERE YOUR
PARTNER WAS PARKED BEHIND?

A I DID.

Q WHAT HAPPENED NEXT, OFFICER SHAVER?

A WALKING INTO THE PARKING LOT GAVE ME A COUPLE
MINUTES JUST TO GET SOME FACTS. SO I ASKED HER IF SHE WAS
THE ONLY ONE TO DRIVE THE CAR. SHE SAID SHE WAS. ASKED
HER IF SHE HAD BOTH SETS OF KEYS TO THE CAR. SHE SAID SHE
DID. ASKED HER IF THERE WERE ANY TEENAGERS IN THE HOUSE OR
DID SHE LOAN HER CAR OUT TO ANYBODY. SHE SAID, NO, SHE IS
THE ONLY DRIVER OF THE VEHICLE.

Q DID MRS. PETERS SEEM CONCERNED AT THIS POINT OR
CONVINCED THAT YOU HAD THE WRONG PERSON?

A AT THIS POINT SHE WAS CONVINCED THERE WASN'T GOING
TO BE ANYTHING IN HER CAR.

Qo THEN WHAT HAPPENED WHEN YOU GOT TO HER CAR?

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A GOT TO THE CAR. I USED THE KEYS. UNLOCKED THE
FRONT DOOR AND OPENED UP THE BACK DRIVER'S DOOR AND PULLED
OUT THE BAG OF MARIJUANA.

Q WHAT HAPPENED THEN?

A AT THAT POINT PURE PANIC SET IN WITH MRS. PETERS.
A LOOK OF, THAT COULD NOT HAVE JUST COME OUT OF MY CAR
BECAUSE THEY ARE NOT MINE. SHE STARTED GETTING EMOTIONAL
SAYING, THAT IS NOT MY STUFF, NOT MINE. I DON'T KNOW WHERE
IT CAME FROM. I CONTINUED TO SEARCH THE CAR AND IN THAT
SAME POCKET BEHIND THE DRIVER SEAT I ALSO FOUND TWO ZIPLOCK
BAGS OF PILLS.

Q NARCOTICS AS IT TURNED OUT?

A ONE WAS VICODIN AND ONE WAS PERCOCET.

Q DID YOU ALSO FIND A MARIJUANA PIPE?

A THE PIPE WAS ACTUALLY INSIDE THE MARIJUANA BAG.
IN 25 YEARS OF LAW ENFORCEMENT PEOPLE DON'T STORE THEIR
WEED LIKE THAT. THEY DON'T DISPLAY IT IN THE CAR LIKE
THAT. SOMETHING WAS IN THE BACK OF MY MIND THAT I NEEDED
TO DIG A LITTLE FURTHER.

Q SO MRS. PETERS AT THAT POINT WAS DISTRAUGHT?

A YES .

Q SHE IS SAYING THIS WASN'T MINS AND DENYING THESE
DRUGS WERE HERS AND NEVER SEEN THEM BEFORE?

A EMPHATICALLY DENYING THAT.

Q I IMAGINE AS A LAW ENFORCEMENT OFFICER YOU
PROBABLY HEAR THAT ALL THE TIME, THAT'S NOT MINE, COULDN'T

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“41 Be MINE?
2 A A LOT OF TIMES, YES.
3 Q AP THIS POINT WAS THERE SOMETHING IN THE BACK OF
4| YOUR MIND THAT SEEMED FISHY THOUGH BECAUSE THE WAY THE
5 | DRUGS LOOKED FROM THE OUTSIDE OF THE VEHICLE?
6 A IT NEEDED SOME INVESTIGATING. I HAVE SEEN
7 | STRANGER THINGS, BUT IT NEEDED FURTHER INVESTIGATING.
8 Q SO WHEN YOU PULLED THESE DRUGS OUT OF THE BACK
9 | SEAT POCKET, WHERE DID YOU PUT THEM?
10 A AY THAT POINT I PUT THEM ON THE BACK OF MY MARKED
11] PATROL CAR.
22 Q LAYING THEM OUT ON TOP OF THE CAR?
/ 43 A YES. —

Q WAS MRS. PETERS SAYING ANYTHING ABOUT THAT? WAS
SHE WORRIED ABOUT YOU HAVING THE DRUGS OUT IN THE OPEN LIKE
THAT?

A AT THAT POINT, YES, BUT I INSTRUCTED HER TO SIT ON
THE GROUND WHILE I COMPLETED THE SEARCH. OFFICER ROBERTS
WAS THERE.WATCHING OVER HER. SHE CONTINUALLY DENIED THEY
ARE NOT MINE, OH, MY GOD, THEY ARE NOT MINE. GOT VISIBLY
EMOTIONALLY UPSET, CRYING.

SHE WAS CONCERNED THE DRUGS WERE ON THE BACK OF
THE CAR. SHE VOLUNTEERS. AT THE TIME SHE WAS THE PTA
PRESIDENT. CONCERNED THAT SCHOOL WAS LETTING OUT. THAT
PARENTS, TEACHERS, STAFF MEMBERS OF THE SCHOOL WOULD SER
THESE. SHE WAS VERY CONCERNED ABOUT THAT.

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Q YOU INSTRUCTED HER TO SIT ON THE GROUND ON THE

A YES.

Q SO SHE IS SITTING ON THE CURB WHILE THESE DRUGS
ARE BEING PULLED OUT AND LAID OUT ON THE CAR?

A YES.

Q AT THAT POINT EVEN THOUGH YOU THOUGHT MAYBE IN THE
BACK OF YOUR MIND SOMETHING IS FISHY YOU DIDN'T TELL
MRS. PETERS, I BELIEVE YOU ARE OFF THE HOOK AND YOU'RE IN
THE CLEAR?

A NO.

Q THAT WOULDN'T BE PROPER PROCEDURE?

A NO.

Q DO YOU REMEMBER ABOUT HOW LONG YOU ALL WERE
OUTSIDE IN THE PARKING LOT WHEN YOU WERE SEARCHING THROUGH
MRS, PETERS' CAR?

A I WOULD PROBABLY SAY 30 TO 45 MINUTE IN THE
PARKING LOT.

Q AT SOME POINT AFTER THAT 30 TO 45 MINUTES DID you
AND MRS. PETERS GO BACK INTO THE SCHOOL?

A WE DID.

Q SIR, AT THAT POINT WHEN YOU PULL THE DRUGS OUT OF
HER CAR IN RESPONSE TO A CALL THAT SHE HAD BEEN DRIVING
CRAZY IN THE PARKING LOT, WAS SHE FREE TO GO?

A NO, ABSOLUTELY NOT.

Q IF SHE WOULD HAVE TAKEN OFF RUNNING, YOU WOULD

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HAVE CHASED AFTER HER?
YES.

Q SO WHEN YOU WENT BACK TO THE SCHOOL, SHE WAS IN
YOUR CUSTODY?

A ‘SHE WAS, YES, BEING DETAINED.

Q WHEN YOU WENT BACK TO THE SCHOOL, WHAT HAPPENED?

A WENT BACK TO THE SCHOOL. ASKED ONE OF THE
ADMINISTRATIVE STAFF IF THERE WAS AN OFFICE WE COULD USE.
STILL HAD TO DO SOME INVESTIGATION TO SEE IF THERE WAS EVEN
ANY ERRATIC DRIVING. SO I NEEDED SOME QUESTIONS CLARIFIED.
THEY LET US USE AN OFFICE. IT LOOKS LIKE A CONFERENCE ROOM
BEHIND THE MAIN ENTRANCE OF THE ELEMENTARY SCHOOL.

Q 1 KNOW YOU WERE PROBABLY FOCUSED ON YOUR JOB, BUT
DID YOU COUNT HOW MANY PEOPLE WERE AROUND WHEN YOU CAME
BACK INTO THE SCHOOL AND TAKE NOTE OF EXACTLY WHO WAS
WHERE?

A WO, THAT WAS NOT EVEN A THOUGHT OF MINE.

Q THAT WASN'T YOUR FOCUS. YOU WERE FOCUSSED ON
MRS. PETERS AND DOING YOUR JOB?

A ‘CORRECT.

Q WHEN YOU WENT BACK INTO THE SCHOOL, DO YOU
REMEMBER WHETHER OR NOT YOU PERFORMED A FIELD SOBRIETY TEST
ON MRS. PETERS?

A 1 ODID.

O DOES THAT INCLUDE STUFF LIKE TAKING YOUR HAND AND
TOUCHING YOUR NOSE?

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YES.

WALKING, SAYING YOUR ABC'S?

NO ABC'S, BUT THAT IS ABOUT THE GIST OF IT.

NOT THAT I HAVE EVER EXPERIENCED THAT. OKAY.
MRS. PETERS, WHAT WAS HER MOOD LIKE AT THAT POINT
THAT YOU OBSERVED?

A SHE WAS STILL PHYSICALLY EMOTIONALLY UPSET. SHE
WAS STILL CONFESSING THAT THE DRUGS WERE NOT HERS. AND SHE
HAD NO IDFA HOW THEY GOT THERE. I BELIEVE AT ONE POINT I
ASKED A QUESTIONED, WELL, WHO COULD HAVE PUT THESE IN YOUR
CAR? AND I THINK THAT IS WHEN IT WAS PROBABLY AFTER THE
FIELD SOBRIETY TESTS JUST TO MAKE SURE SHE WASN'T UNDER THE
INFLUENCE,

SO WE DID THE FINGER TO NOSE, THE WALK AND TURN,
AND THE ROMBERG TEST. IT GAUGES YOUR ABILITY TO CALCULATE
30 SECONDS WITH YOUR HEAD CLOSED. SOME DRUGS CAN SLOW THAT
DOWN WHERE 30 SECONDS TO SOMEBODY NOT UNDER THE INFLUENCE
-[T COULD BE 3 MINUTES OR SPEED UP ON OTHER DRUGS. IT COULD
BE 10 SECONDS AND YOU THINK 30 SECONDS HAS ELAPSED. AFTER
HAVING GONE THROUGH THE FIELD SOBRIETY TESTS I DETERMINED
SHE WAS NOT UNDER THE INFLUENCE AT THE TIME.

Q WAS SHE CRYING AT THIS POINT?

A YES, HYSTERICALLY.

Q DO YOU REMEMBER WHETHER AT ONE POINT MRS. PETERS'
DAUGHTER AND HUSBAND ARRIVED AT THE SCHOOL OR WERE AT THE:
SCHOOL WITH HER?

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A SHE WAS VERY CONCERNED BECAUSE HER DAUGHTER WENT
TO THE SCHOOL AND IT WAS CLOSER TO THE END OF THE DAY AND
SHE USUALLY PICKS HER DAUGHTER UP FROM SCHOOL SINCE SHE IS
VOLUNTEERING THERE. SO AT ONE POINT WE DID HAVE A
DISCUSSION ABOUT HER DAUGHTER. 1 BELIEVE THE
ADMINISTRATIVE STAFF CALLED HER HUSBAND AND HE CAME DOWN TO
PICK UP HER DAUGHTER AFTER SCHOOL.

Q DO YOU REMEMBER WHETHER OR NOT HER DAUGHTER WAS
AROUND WHEN YOU BROUGHT MRS. PETERS IN?

MRS. PETERS HAS TESTIFIED, AND TESTIFIED THAT HER
DAUGHTER WAS BROUGHT IN AND SAW IT.

MR. EASTER: OBJECTION.

THE COURT: REPHRASE IT.
BY MR. MARCEREAU:

0 DO YOU REMEMBER WHETHER OR NOT MRS. PETERS’
DAUGHTER WAS ANYWHERE AROUND WHEN SHE WAS BROUGHT BACK INTO
THE SCHOOL?

A IT DO NOT.

QO NOW, WHEN MRS. PETERS' HUSBAND CAME IN, WHAT WAS
HIS MOOD AND DEMEANOR IF YOU REMEMBER?

A T DON'T REMEMBER HIM BEING EMOTIONAL OR CRYING OR
UPSET. HE WAS JUST MORE KIND OF LIKE IN SHOCK. DIDN'T
SEEM LIKE HE WAS PROCESSING WHAT I WAS TELLING HIM, THAT
THE DRUGS WERE FOUND IN HER CAR. IT’ WAS LIKE THINGS JUST
WEREN'T MATCHING UP.

Q OUT OF LEFT FIELD?

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A ‘RIGHT.

Q DID YOU QUESTION MR. PETERS TO TRY TO GET TO THE
BOTTOM OF WHETHER THOSE DRUGS COULD BE KELLI PETERS' OR
SOMEBODY IN HER FAMILY?

A 1 DON'T REMEMBER IF AT THE SCHOOL OR BACK AT THE
HOUSE, BUT THERE WAS A TIME WE HAD A DISCUSSION. THEY WERE
FOUND IN YOUR WIFE'S CAR, SHE SAYS SHE IS THE ONLY DRIVER
OF THE CAR, ANY IDEA WHERE THEY COULD HAVE COME FROM? HE
DENIED THAT MRS. PETERS EVER DID DRUGS. THERE WAS A POINT
THAT I ASKED MR. PETERS AS WELL, OKAY, WELL, CAN YOU THINK
OF ANYBODY THAT COULD HAVE DONE THIS?

Q DID MRS. PETERS OR MR. PETERS IDENTIFY SOMEONE
THEY THOUGHT COULD HAVE DONE IT?

THEY DID.
WHO DID SHE SAY?
THEY BOTH SAID JILL RASTER.

oO Pr Oo PY

AT THAT POINT DID YOU SAY, CASE CLOSED, IT MUST BE
JILL EASTER, YOU GUYS ARE OFF THE HOOK?

A ABSOLUTELY NOT.

0 DO YOU REMEMBER ABOUT HOW LONG YOU WERE AT THE
SCHOOL DETAINING MRS. PETERS INSIDE? AND WE HAVE ALREADY
TALKED ABOUT THE PARKING LOT. I AM TALKING ABOUT INSIDE.

A PROBABLY ANOTHER 30, 45 MINUTES AS WELL.

Q ARE YOU CERTAIN ABOUT THAT? COULD HAVE BEEN A
LITTLE LONGER?

MR. EASTER: OBJECTION, LEADING.

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THE COURT: OVERRULED.
THR WITNESS: FIVE YEARS AGO. IT COULD HAVE BEEN

A LITTLE LONGER. I'M NOT SURE.
BY MR. MARCEREAU:

Q HOW MANY CALLS DO YOU RESPOND TO IN A GIVEN DAY?

A 10 HOUR SHIFT, IT VARIES. IT COULD GO ALL DAY
WITH NO CALLS OR 15 CALLS A DAY. KIND OF DEPENDS.

Q DID YOU HAVE A LOT OF CALLS IN THE LAST FIVE YEARS
SINCE YOU RESPONDED TO THIS ONE?

A YES.

Q THIS ONE STICKS OUT IN YOUR MEMORY THOUGH. IT'S
UNIQUE, RIGHT?

A IN 25 YEARS OF LAW ENFORCEMENT I HAVE NEVER SEEN
THIS.

Q WHERE SOMEONE IS FRAMING SOMEONE ELSE FOR A CRIME
THEY DIDN'T COMMIT?

A ‘CORRECT.

Q WHEN YOU FINISHED UP THE FIELD SOBRIETY TESTS AND
QUESTIONING MR, PETERS, WHAT HAPPENED THEN?

A I WANTED TO GO BACK TO THE HOUSE AND SEARCH TO SEE
IF THERE WAS ANY MARIJUANA THERE, ANY PERCOCET, ANY
VICODIN, ANY RESEMBLANCE OF ANY CRIMINAL ACTIVITY. THE
BAGS THAT THE PERCOCET AND VICODIN WERE IN WERE VERY
SPECIFIC. IT WAS EITHER BZ LOCK OR EZL THAT HAD A DATE AND
TIME LIKE WHEN YOU TAKE MEDICATION YOU CAN PUT THEM IN THIS
POUCH AND REMEMBER WHEN TO TAKE IT.

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THE COURT: COUNSEL?

MR. MARCERFAU: PLAINTIFFS CALL DEFENDANT
KENT EASTER. _
ete CLERK: DO YOU SOLEMNLY STATE THAT THE
EVIDENCE YOU SHALL GIVE IN THIS MATTER SHALL BE THE TRUTH,
THE WHOLE TRUTH, AND NOTHING BUT THE TRUTH, SO HELP YOU |
GOD?

THE WITNESS: YES, I DO.

THE CLERK: STATE AND SPELL YOUR NAME FOR THE
RECORD, PLEASE.

THE WITNESS: KENT, K-E-N-T, EASTER, E-A-S-T-E-R.

THE CLERK: ‘THANK YOU. HAVE A SEAT IN THE WITNESS
STAND, PLEASE.

DIRECT EXAMINATION

BY MR. MARCEREAU:

© MR. EASTER, YOU HEARD OFFICER SHAVER TALK ABOUT A
CALL HE RECRIVED THAT PROMPTED HIS RESPONSE TO PLAZA VISTA
ELEMENTARY?

BR YES, I DID.

Q YOU WERE THE ONE THAT MADE THAT CALL?

A YES, I WAS.

Q ON FEBRUARY 16, 2011 YOU MADE A CALL TO THE IRVINE
POLICE ABOUT KELLI PETERS?

A YES.

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Q COULD YOU LOOK AT EXHIBIT 8 FOR ME.
ARE YOU THERE, SIR?

A aM,

Q ‘THIS IS A TRANSCRIPT OF THE CALL THAT YOU MADE TO
IRVINE POLICE, CORRECT?

A YES, I APPEARS SO.

Q REMEMBER WE TALKED ABOUT THIS AT YOUR DEPOSITION
AND YOU READ THROUGH IT AND LISTENED TO YOUR VOICE ON THE
CALL AND CONFIRMED THAT WAS AN ACCURATE TRANSCRIPT?

A THAT'S RIGHT.

© REMEMBER WE LISTENED TO THAT CALL?

A YES.

MR. MARCEREAU: YOUR HONOR, I WOULD LIRE TO
PUBLISH THE CALL.

THE COURT: WHY DON'T YOU APPROACH FOR A MINUTE?

(SIDEBAR DISCUSSION OFF THE RECORD.)

(WHEREUPON THE AUDIO IS PLAYED IN OPEN COURT IN
THE PRESENCE OF THE JURY.)

DIRECT EXAMINATION (CONTINUED. }

BY MR. MARCEREAU:

Q THAT WAS YOU ON THAT CALL?

A YES.

0 CORRECT ME IF I AM WRONG, BUT HALFWAY THROUGH THAT
CALL YOU STARTED USING A PHONY ACCENT, DIDN'T YOU?

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YES.
Q YOU GAVE THE POLICE A FAKE NAME VJ CHANDRASCKHR?
THE COURT: ALL RIGHT. THE CALL SPEAKS FOR
ITSELF, COUNSEL.
BY MR. MARCEREAU:

Q EVERYTHING YOU SAID IN THAT CALL WAS A LIE?

A PRETTY MUCH, YES.

QO YOU DIDN’T USE YOUR CELL PHONE OR OFFICE PHONE TO
MAKE THAT CALL?

A NO, I DID NOT.

Q YOU WENT TO A HOTEL AND CALLED FROM A PUBLIC PHONE,
IN THE BUSINESS CENTER?

A ‘THAT'S RIGHT.

Q SO THAT IT WOULDN'T GET TRACED BACK TO YOU?

A ‘THAT'S CORRECT.

Q TURN TO EXHIBIT 10, PLEASE.

THAT IS YOU IN SECURITY PHOTOS, SECURITY CAMERA
STILL PHOTOS OF THE HOTEL LOBBY?

MR. EASTER: OBJECT, RELEVANCE,

THE COURT: SUSTAINED.
BY MR. MARCEREAU:

Q SIR, AROUND THE SAME TIME THAT THE DRUGS WERE
PLANTED IN KELLI PETERS’ CAR AND THAT PHONY CALL WAS MADE
TO THE COPS YOUR WIFE WAS FINISHING UP A FANTASY NOVEL
ABOUT COMMITTING THE PERFECT CRIME?

A NO.

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Q SHE FINISHED IT UP A LITTLE EARLIER?

A I WOULD NOT DESCRIBE THE BOOK IN THAT WAY.

Q DIDN'T YOU DESCRIBE THE BOOK IN THAT WAY IN A
VIDEO THAT YOU DID FOR THE BOOK?

A NO. IT'S ACTUALLY ABOUT WHAT HAPPENS WHEN SOMEONE

PLANS A PERFECT CRIME AND IT DOESN'T GO RIGHT.

Q DIDN'T YOU SAY IN A PROMOTIONAL VIDEO FOR YOUR
WIFE'S NOVEL, IF YOU KNEW HOW TO COMMIT THE PERFECT CRIME,
WOULD YOU DO IT?

A THAT WAS THE TAG LINE OF THE AUDIO THAT WE WORKED
ON FOR PROMOTING HER BOOK ABOUT PEOPLE THAT TRY TO CARRY
OUT A PLAN AND IT BACKFIRES ON THEM AND FATLS IRONICALLY.

Q THAT WAS YOUR VOICE WHEN YOU SAID THE WORDS, "IF
YOU KNEW HOW TO COMMIT A PERFECT CRIME, WOULD YOU DO IT?"

MR. EASTER: OBJECTION, ARGUMENTATIVE.

THE COURT: OVERRULED. GO AHEAD AND ANSWER.

THE WITNESS: OKAY. YES, THAT WAS MY VOICE.
BY MR. MARCEREAU:

Q YOU RELEASED THAT PROMOTIONAL VIDEO ON YOU TUBE
THE DAY AFTER YOU PLANTED THE DRUGS AND MADE THAT PHONY
CALL TO THE COPS AGAINST MRS. PETERS, DIDN'T YOU?

A I DID NOT.

Q WHY DON'T YOU TURN TO EXHIBIT 13 AND LET'S TAKE A
LOOK.

ARE YOU THERE, MR. EASTER?
A ©=ssd.:«x HAVE: «13 AS A CD AND 13A AND 13B AS YOU TUBE.

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Q WHEN ALL THOSE THINGS FAILED YOU AND YOUR WIFE
THEN DECIDED TO PLANT DRUGS IN KELLI PETERS' CAR AND HAVE
HER ARRESTED?

A NO.

Q WHAT DID I GET WRONG?

A ‘THERE WAS A LARGE PERIOD OF TIME WHERE NOTHING
HAPPENED.

Q THAT WAS THE PLANNING PHASE, THAT IS WHEN YOU
WERE PLOTTING THE PERFECT CRIME, RIGHT?

A wo.

© SO WHEN ALL THOSE PREVIOUS EFFORTS FAILED, AT SOME
POINT LATER ON A FEW MONTHS LATER YOU AND YOUR WIFE
CONSPIRED TO AND DID PLANT DRUGS IN KELLI PETERS' CAR AND
TRIED TO HAVE HER FRAMED FOR CRIMES SHE DIDN'T COMMIT?

A YES. VERY STUPIDLY AND VERY UNFORTUNATELY, YES.

Q SIR, ARE YOU NOW ADMITTING THAT YOU KNOWINGLY
PARTICIPATED IN A SCHEME WITH YOUR WIFE TO FRAME
KELLI PETERS?

THE COURT: I THINK THERE IS A STIPULATION TO THAT
AS I UNDERSTAND IT.

MR. EASTER: OBJECTION, RELEVANCE.
BY MR. MARCEREAU:

Q MR. EASTER, I HEARD YOU SAY IN YOUR OPENING
STATEMENT, I ACCEPT’ RESPONSIBILITY.

DO YOU REMEMBER SAYING THAT?
A YES.

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A YES, I USED TO BE A LAWYER.

Q BECAUSE OF NARCOTICS IN THE CAR MRS. PETERS WAS
FACING UP TO THREE YEARS IN PRISON, WASN'T SHE?

A I DO NOT KNOW, I AM NOT A CRIMINAL ATTORNEY AND I

NEVER RESEARCHED IT.

Q THE FACT THE CALL WAS ABOUT IT BEING ON SCHOOL
GROUNDS THAT MADE IT AN EVEN BIGGER OFFENSE, DIDN'T IT?

A I DON'T KNOW.

Q YOU DIDN'T CONSIDER ANY OF THIS BEFORE YOU WENT
THROUGH WITH YOUR PLAN?

A CORRECT.

0 ‘SIR, IF THE POLICE BOUGHT YOUR STORY THAT YOU TOLD
THEM THAT MRS. PETERS WAS DRIVING CRAZY AROUND THE SCHOOL
PARKING LOT, SHE WAS ALSO LOOKING AT CHARGES FOR CHILD
ENDANGERMENT, WASN'T SHE?

I DON'T KNOW.

0 YOUR WIFE WAS A LAWYER AS WELL, CORRECT?
A SHE WAS A CORPORATE ATTORNEY FOR 3 1/2 YEARS,
Q SIR, YOU KNEW ITF YOUR PLAN SUCCEEDED FULLY,

MRS. PETERS WAS FACING YEARS IN PRISON, WASN'T SHE?

I DON'T KNOW.

DIDN'T THINK ABOUT THAT BEFORE YOU DID IT?

NO.

DID YOUR WIFE THINK ABOUT IT BEFORE SHE DID IT?

I DON'T KNOW.

THIS HAS BEEN ESTABLISHED. YOU WERE CONVICTED FOR

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( FRAMING KELLI PETERS, CORRECT?

| A CORRECT.

Q YOU SERVED A GRAND TOTAL OF 87 DAYS IN JAIL,
CORRECT?

A YES.

Q ISN'T IT TRUE, SIR, WHEN YOU WERE SENTENCED THE
JUDGE TOLD YOU HE WISHED HE COULD HAVE GIVEN YOU A WHOLE
LOT MORE TIME?

THE COURT: SUSTAINED.
BY MR. MARCEREAU:

© YOUR WIFE JILL EASTER SERVED A GRAND TOTAL OF 60
DAYS IN JAIL, DIDN'T SHE?

A ‘THAT SOUNDS RIGHT.

Q SIR, CAN YOU TURN TO EXHIBIT 14. THIS IS A COPY
OF THE PLEA AGREEMENT SIGNED BY YOUR WIFE.

HAVE YOU SEEN THIS BEFORE?

A YES, I HAVE.

Q COULD YOU LOOK AT THE LAST PAGE.
ARE YOU THERE?
YES,
DO YOU RECOGNIZE THAT AS YOUR WIFE'S SIGNATURE?
YES.
THAT IS YOUR WIFE'S SIGNATURE?

r Oo Fr Oo PF

YES.
0 IF YOU TURN TO THE SECOND TO THE LAST PAGE THERE
IS ANOTHER SIGNATURE LINE THERE.

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REPORTER'S CERTIFICATE

I, JEANETTE A. GILLICK, CSR NO. 7961, OFFICIAL
COURT REPORTER IN AND FOR THE SUPERIOR COURT OF THE STATE
OF CALIFORNIA, COUNTY OF ORANGE, DO HERERY CERTIFY THAT THE
FOREGOING TRANSCRIPT IS A TRUE AND CORRECT TRANSCRIPT OF MY
SHORTHAND NOTES, AND IS A FULL, TRUE AND CORRECT STATEMENT
OF THE PROCEEDINGS HAD IN SAID CAUSE.

DATED THIS auth pay or Tp naa) , 2016,

